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        EXHIBIT A
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     IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Patent of:    Watts et al.
U.S. Pat. No.:      7,460,658         Attorney Docket No.: 35548-0134IP1
Issue Date:         Dec. 2, 2008
Appl. Serial No.:   10/663,881
Filing Date:        Sep. 16, 2003
Title:              APPARATUS, AND AN ASSOCIATED METHOD, FOR
                    SELECTABLY AND AUTOMATICALLY REDIRECTING A
                    TELEPHONIC CALL TO A SECONDARY LOCATION

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PETITION FOR INTER PARTES REVIEW OF UNITED STATES PATENT
   NO. 7,460,658 PURSUANT TO 35 U.S.C. §§ 311-319, 37 C.F.R. § 42
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                                                              IPR of U.S. Patent No. 7,460,658

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                                 EXHIBITS

EX1001    U.S. Patent No. 7,460,658 to Watts et al. (“the ’658 patent”)

EX1002    Excerpts of the Prosecution History of the ’658 patent (Serial No.
          10/663,881)

EX1003    Declaration of Mr. Peter Rysavy

EX1004    U.S. Patent No. 6,631,186 to Adams et al. (“Adams”)

EX1005    U.S. Patent No. 6,041,114 to Chestnut (“Chestnut”)

EX1006-1008     Reserved

EX1009    Complaint filed in WSOU Investments LLC v. Huawei Technologies
          Co., Ltd., et al., Case No. 6:20-cv-00892 (W.D. Tx.)

EX1010-1099     Reserved

EX1100    Complaints filed in WSOU Investments LLC v. Huawei Technologies
          Co., Ltd., et al., Case Nos. 6:20-cv-00889, 6:20-cv-00891-00893,
          6:20-cv-00916-00917 (W.D. Tx.)

EX1101    Scheduling Order (Document 29), WSOU Investments LLC v. Huawei
          Technologies Co., Ltd., et al., Case Nos. 6:20-cv-00889-00893, 6:20-
          cv-00916-00917 (W.D. Tx.)

EX1102    Huawei’s Stipulation served in WSOU Investments LLC v. Huawei
          Technologies Co., Ltd., et al., Case Nos. 6:20-cv-00889, 6:20-cv-
          00891-00893, 6:20-cv-00916-00917 (W.D. Tx.)




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                           CLAIM LISTING

Claim Element                                Language
    1[P.1]      In a communication system having a packet data network
                through which a user selectably communicates at any of a first
                location and at least a second location and a first telephonic
                network through which the user also selectably communicates,
                also at any of the first and at least second locations,
                respectively,

    1[P.2]      an improvement of apparatus for facilitating routing of a call
                to the user placed by a calling party by way of the first
                telephonic network to a user located at a selected one of the
                first location and the at least the second location, said
                apparatus comprising

   1[A.1]       a detector embodied at the packet data network and

   1[A.2]       adapted to receive indications provided to the packet data
                network of at which of the first and at least second locations at
                which the user selects to communicate by way of the first
                telephonic network; and

   1[B.1]       an indexer coupled to said detector,

   1[B.2]       said indexer for forming an index by indexing together values
                representative of selection made by the user of the selected one
                of the first and at least second locations together with calling
                indicia used to route the call to the selected one of the first
                location and the at least the second location.

    2[A]        The apparatus of claim 1 wherein a packet communication
                station is positioned at least at the selected one of the first and
                at least second locations and coupled in communication
                connectivity with the packet data network and

    2[B]        wherein the indications provided to the packet data network
                and detected by said detector are provided by the user through
                operation of the packet communication station.




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   3         The apparatus of claim 2 wherein said detector further detects
             indications of the calling indicia that is indexed together by
             said indexer with the values representative of the selection
             made by said indexer.

   4         The apparatus of claim 3 wherein the indications of the calling
             indicia are provided to the packet data network and are
             provided by the user through operation of the packet
             communication station.

 5[A]        The apparatus of claim 1 wherein a telephonic-network
             communication station is positioned at least at the selected one
             of the first and at least second locations and coupled in
             communication connectivity with the first telephonic network,

 5[B]        the telephonic-network communication station identified by a
             calling code and wherein the calling indicia indexed together
             by said indexer comprises the calling code identifying the
             telephonic-network communication station.

   6         The apparatus of claim 1 wherein said indexer is coupled to
             the first telephonic network and the index is accessible
             therefrom when the calling party places the call to the user.

 7[A]        The apparatus of claim 6 wherein the user is associated with a
             normally-called location, the normally-called location having a
             normally-called telephonic station associated therewith, and

 7[B]        wherein said indexer further indexes the values representative
             of the normally-called location together with the values
             representative of the selection made by the user.

   8         The apparatus of claim 7 wherein the normally-called location
             has a normally-called-location dialing code associated
             therewith and wherein the values representative of the
             normally-called location indexed by said indexer comprise the
             normally-called-location dialing code.

 9[A]        The apparatus of claim 8 wherein the call placed by the calling
             party is initiated through entry of the normally-called location
             dialing code, and


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 9[B]        wherein said indexer is accessed pursuant to the routing of the
             call to ascertain the calling indicia used to route the call to the
             selected one of the first location and the at least the second
             location.

  10         The apparatus of claim 1 wherein the communication system
             comprises a Service Control Point (SCP) and wherein said
             indexer is embodied thereat.

  11         The apparatus corn claim 1 wherein the packet data network
             comprises a private network portion and wherein said detector
             is embodied thereat.

  12         The apparatus of claim 1 wherein the packet data network
             comprises a public network portion and wherein said detector
             is embodied thereat.

13[P.1]      In a method of communicating in a communication system
             having a packet data network through which a user selectably
             communicates at any of a first location and at least a second
             location and a first telephonic network through which the user
             also selectably communicates, also at any of the first and at
             least second locations, respectively,

13[P.2]      an improvement of a method for facilitating routing of a call to
             the user placed by a calling party by way of the first telephonic
             network to a user located at a selected one of the first location
             and the at least the second location, said method comprising:

 13[A]       detecting, at the packet data network, indications provided to
             the packet data network of at which of the first and at least
             second locations at which the user selects to communicate by
             way of the first telephonic network;

 13[B]       forming an index by indexing together values representative of
             selection made by the user of the selected one of the first and
             at least second locations together with calling indicia used to
             route the call to the selected one of the first location and the at
             least the second location;




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 13[C]       accessing the index formed during said operation of forming
             the index when routing the call to the user placed by the
             calling party; and

 13[D]       using information accessed during said operation of accessing
             to complete the routing of the call.

 14[A]       The method of claim 13 wherein a packet communication
             station is positioned at least at the selected one of the first and
             at least second locations and is coupled in communication
             connectivity with the packet data network and

 14[B]       wherein said method further comprises the operation of
             providing, by the user, through operation of the packet
             communication station, the indications provided to the packet
             data network of at which of the first and at least second
             locations at which the user selects to communicate.

  15         The method of claim 14 wherein said operation of providing
             further comprises providing the indications of the calling
             indicia to the packet data network through operation of the
             packet communication station.

 16[A]       The method of claim 13 wherein the user is associated with a
             normally-called location, the normally-called location having a
             normally called telephonic station associated therewith, and

 16[B]       wherein said operation of indexing further comprises indexing
             the values representative of the normally-called location
             together with values representative of the normally-called
             location together with values representative of the selection
             made by the user.

  17         The method of claim 16 further comprising the operation, prior
             to said operation of accessing, of placing the call by the calling
             party.

  18         The method of claim 17 wherein the values representative of
             the normally-called location comprise a normally-called
             telephonic dialing code, and wherein said operation of placing



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             the call comprises entering the normally-called telephonic
             dialing code.

 19[A]       The method of claim 18 wherein a telephonic-network
             communication station is positioned at least at the selected one
             of the first and at least second locations and coupled in
             communication connectivity with the first telephonic network,

 19[B]       the telephonic network communication station identified by a
             calling code and wherein said operation of indexing indexes
             together the calling code and the normally-called telephonic
             dialing code.

  20         The method of claim 13 wherein the index fanned during said
             operation of indexing is embodied at a Service Control Point,
             the Service Control Point Accessible from the first telephonic
             network.




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       Huawei Technologies Co., Ltd. (“Huawei” or “Petitioner”) petitions for

Inter Partes Review (“IPR”) of claims 1-20 of U.S. Patent No. 7,460,658 (“the

’658 patent”).

                 MANDATORY NOTICES—37 C.F.R § 42.8(a)(1)

                     Real Party-In-Interest—37 C.F.R. § 42.8(b)(1)

       Huawei Technologies Co., Ltd.; Huawei Device USA, Inc.; Huawei

Technologies USA Inc.; Huawei Investment & Holding Co., Ltd.; Huawei Device

(Shenzhen) Co., Ltd.; Huawei Device Co., Ltd.; Huawei Tech. Investment Co.,

Ltd.; and Huawei Device (Hong Kong) Co., Ltd. are the real parties-in-interest. No

other parties had access to or control over this Petition, and no other parties funded

this Petition.

                     Related Matters—37 C.F.R. § 42.8(b)(2)

       WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“WSOU”)—the alleged Patent Owner—filed a complaint against Huawei

Technologies Co., Ltd. and Huawei Technologies USA Inc. asserting the ’658

patent on September 29, 2020 in the U.S. District Court for the Western District of

Texas (Case No. 6:20-cv-00892). The complaint was one of six patent lawsuits

filed by WSOU against Huawei between September 29, 2020 and October 2, 2020:




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          Asserted Patent No.             Civil Case No. (W.D. Tex.)
               6,704,304                         6-20-cv-00889
               7,406,260                         6-20-cv-00891
               7,460,658                         6-20-cv-00892
               7,933,211                         6-20-cv-00893
               7,406,074                         6-20-cv-00916
               7,423,962                         6-20-cv-00917

None of the six asserted patents is related to another.

      Petitioner is not aware of any disclaimers or reexamination certificates

addressing the ’658 patent.

                    Lead And Back-Up Counsel—37 C.F.R. § 42.8(b)(3)

      Huawei provides the following designation of counsel.

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                   Service Information

      Please address all correspondence and service to the address listed above.

Huawei consents to electronic service by email at 35548-0134IP1@fr.com

(referencing No. 35548-0134IP1 and cc’ing PTABInbound@fr.com and

hawkins@fr.com).

            PAYMENT OF FEES

      Huawei authorizes the Office to charge Deposit Account No. 06-1050 for

the fee set in 37 C.F.R. § 42.15(a) and further authorizes payment for any

additional fees to be charged to this Deposit Account.

            REQUIREMENTS FOR IPR

                   Standing

      Huawei certifies that the ’658 patent is available for IPR and that Huawei is

not estopped from requesting IPR.

                   Challenge and Relief Requested

      Huawei requests IPR of claims 1-20 of the ’658 patent on the grounds listed

below. A declaration from Mr. Peter Rysavy (EX1003) supports this Petition.




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  Grounds                               Basis for Rejection
              Claims 1-10 and 12-20 are obvious under 35 U.S.C. §103 based
 Ground 1
              upon U.S. Patent No. 6,631,186 (“Adams”)
              Claims 1-20 are rendered obvious under 35 U.S.C. §103 based upon
 Ground 2
              Adams in view of U.S. Patent No. 6,041,114 (“Chestnut”)

       The ’658 patent does not make a claim of priority. For purposes of this

Petition, Huawei treats September 16, 2003 as the Critical Date for evaluating prior

art status:

                  Reference              Publication            Status
               Adams (EX1004)       Oct. 7, 2003                102(e)
                                    (filed Nov. 21, 2000)
              Chestnut (EX1005) Mar. 21, 2000                   102(b)

None of the references was cited during examination.

              THE ’658 PATENT

                    Brief Description

       The ’658 patent relates to redirecting a call placed by a calling party to

deliver the call to a telephonic station positioned at a secondary location. EX1001,

1:7-10, 3:41-45, FIG. 1; EX1003 ¶¶24-28. An example of the system is shown in

FIG. 1:




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                            Index

                                                                Indexer

                                                           Detector




   Telephonic
   Network
                                                                          Packet Data
                                                                          Network



           First Location                                   Second
                                                            Location




EX1001, FIG. 1 (annotated); EX1003, ¶25.

      In the ’658 patent, a detector 74 receives an indication provided to a packet

data network 14 of a first location 26 or second location 52 from where a user

selects to communicate using a telephonic network 12. EX1001, 5:45-50, 7:61-64,

8:2-4. An indexer 68 creates an index 72 that indexes values representative of the

selection made by the user of the first location 26 or the second location 52

together with calling indicia used to route the call to the selected first location 26



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or second location 52. EX1001, 5:51-55, 7:58-60, 8:4-5.

                    Summary of the Prosecution

      In the sole office action, the examiner rejected the claims based on Staples

(US 5,889,845) and Zwick (US 5,185,786). EX1002, 130-137. The examiner

stated that “Staples differs from the instant application is that in Staples, virtual

presence server 106/detector is in the office, while the instant application the

detector embodied at the packet data network.” EX1002, 133 (underlining in

original). In response to the office action, the applicant argued that Staples’

disclosure of “the virtual presence server instruct[ing] the corporate PBX to

automatically forward the remote user’s office calls to the remote user at the

remote location” fails to disclose the claimed indexer. EX1002, 152.

      As described below, more pertinent prior art publications never considered

by the examiner disclosed these features. EX1003, ¶¶29-34.

             LEVEL OF ORDINARY SKILL

      A person of ordinary skill in the art at the time of the ’658 patent (a

“POSITA”) would have had at least a Bachelor’s degree in computer science,

computer engineering, electrical engineering, or a related field, with 2-3 years of

experience in information or communication systems. EX1003, ¶20. Such

experience could be obtained through research and study in a graduate program or

through comparable exposure to research literature through industry employment

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working in the field of network routing, and additional years of experience could

substitute for the advanced-level degree. Id.

             CLAIM CONSTRUCTION

      All claim terms should be construed according to the Phillips standard.

Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005); 37 C.F.R. §42.100. In the

Related Litigation, a Markman hearing is scheduled for August 12, 2021. EX1101,

3. For purposes of Grounds 1-2 in this Petition, no construction is necessary due to

the noticeable overlap between the preferred embodiment of the ’658 patent and

the systems detailed in the IPR grounds below. Wellman, Inc. v. Eastman Chem.

Co., 642 F.3d 1355, 1361 (Fed. Cir. 2011).

             THE CHALLENGED CLAIMS ARE UNPATENTABLE

                   GROUND 1—Adams Renders Obvious Claims 1-10 and 12-
                   20

                          Claim 1

                          Element 1[P.1]

      To the extent the preamble is treated as a limitation, Adams recites the

Internet, which is a packet data network. EX1004, 5:21-37, 6:18-32, FIG. 1. The

system includes a web server, through which a subscriber operating a web client

receives call forwarding service data and sends instructions to control the call

forwarding service through a packet switched data network. Id. FIG. 1 shows a


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web client 30 that communicates with web server 54 via Internet 44:




                                                             Web Server




   Telephonic Network


                                                          Packet Data Network


                                                                          Web Client




EX1004, FIG. 1 (annotated); EX1003, ¶¶36-54, 63. Adams describes an apparatus

and method that allow a subscriber connected to the Internet to customize and

execute the call forwarding services, with near real-time access to the service data.

EX1004, 5:21-37. Adams’ data network includes a web client 30, a web server 54,

and a service management system (SMS) 48, connectable through the Internet 44.

EX1004, 13:41-56. The web client 30 includes a personal computer (PC). Id.

      Adams’ web client 30 is a PC coupled to the Internet. EX1004, 15:60-62.

The evidence confirms that, based upon Adams’ disclosure, a POSITA would have

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understood a user would access Adams’ call forwarding systems from any location

using a web client that is coupled to the Internet. EX1004, 13:41-56, 15:60-62;

EX1003, ¶64. Adams states that the “inability to implement desired changes [to a

user’s services] is especially troublesome considering that users are often

interested in altering some call services...when they are away from their home or

business telephone and PC.” EX1004, 2:36-40. Adams, thus, allows for the user

to implement desired changes when they are away from their home or business

telephone and PC. EX1003, ¶64. This advantage over the prior art would require

a user to be able to access a phone or a PC from any location. Id.

      Adams also describes a first telephonic network, such as those compatible

with Signaling System 7 (SS7) protocols. EX1003, ¶65. Adams describes service

switch points (SSP) 21 and 24 and a signaling transfer point (STP) 22. EX1004,

12:62-67. The subscriber phone 25 and calling party 20 can make calls using

various components of the telephonic network. EX1004, 5:21-37, 6:18-32, 12:65-

67, 13:21-31, 13:41- 56, 15:60-62, FIG. 1; EX1003, ¶65. Adams also describes a

service control point (SCP) that processes telephone calls in a public switched

telecommunications network (PSTN). EX1004, 9:39-40, 12:5-8.

      In Adams, a user selectably communicates at any location using the

telephonic network. EX1003, ¶66. The evidence confirms that, based on Adams’

disclosure of call forwarding, the user receives calls from a calling party at various


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telephonic devices at various locations. Id. For example, FIG. 2 shows a

subscriber phone and a forward number phone:




         Phone at          Phone at
         First Location    Second Location




EX1004, FIG. 2 (annotated); EX1003, ¶66. FIG. 7 displays a forward-to-number

box 86, which is the telephone number to which incoming calls are forwarded:




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       Phone Number at
       Second Location




EX1004, 17:52-54, FIG. 7 (annotated); EX1003, ¶66. FIG. 9 also shows

forwarding numbers:




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                                        Phone Numbers at Second Locations




                                                 Phone Number
                                                 at First Location


EX1004, 18:51-19:7, FIG. 9 (annotated); EX1003, ¶66. While Adams describes

the forwarding number “312-555-1616” in FIG. 9 as a voice mail number, a

POSITA would have recognized that Adams also teaches that the forwarding

number can be a phone number at any second location. EX1004, 18:44-47, FIG. 9;

EX1001, 4:63-67, 8:49-53, 9:24-26; EX1003, ¶66. For example, Adams describes

another forwarding number 312-338-8353, which is a priority forwarding number.

EX1004, 18:59-63, FIG. 9; EX1003, ¶66.

                        Element 1[P.2]

      To the extent the preamble is treated as a limitation, Adams’ Background



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section explains that “current Internet based systems have several

drawbacks...including the inability to ensure near real-time update of services and

incompatibility with existing IVR implem[]entations.” EX1004, 2:19-23. Adams

thus describes a system that provides an improvement for “call forwarding services

that resolve the previously identified problems, simply and efficiently.” EX1004,

5:23-25; EX1003, ¶67.

      Adams’ apparatus allows a subscriber with a web client connected to the

Internet to customize and execute the call forwarding services, with near real-time

access to the service data. EX1004, 5:21-37; EX1003, ¶68. Adams’ SMS

transmits and receives information to and from the SCP. EX1004, 13:47-48. The

SMS provides a subscriber interface to the SCP from the web client through the

web server, via the Internet. EX1004, 13:50-56. The SMS maintains and

distributes subscriber specific data for the Flexible Call Forwarding service. Id.

Adams’ “call forwarding services...enable subscribers to forward calls to

alternative locations.” EX1004, 1:17-19.

                          Element 1[A.1]

      Adams’ SMS (including a detector) is embodied at a packet data network, as

shown in FIG. 1 (below). EX1004, 5:56-59, 6:28-30. The SMS operates as a

communication interface between the SCP (also including a detector) and the web

server (also including a detector) interface, through a packet switched data


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network. Id. The SMS provides the subscriber interface to the SCP from the web

client through the web server, via the Internet. EX1004, 13:40-56. The SMS also

maintains and distributes all subscriber specific data for the Flexible Call

Forwarding service. Id. When a subscriber interacts with the web page to add call

forwarding information, the SMS receives the call forwarding information through

the Web server, stores it, and also sends that data to the SCP. EX1004, 17:65-18:9.

The data stored at the SMS is therefore duplicated by the data stored at the SCP.

Id.

                                                            Detector
                Detector


                                                              Detector




      Telephonic Network


                                                           Packet Data Network


                                                                         Web Client




EX1004, FIG. 1 (annotated); EX1003, ¶69.

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                           Element 1[A.2]

      Adams’ SMS (including a detector) receives indications through the Internet

(packet data network) of at which of the first or second locations the user selects to

communicate. EX1004, 13:40-56; EX1003, ¶70. The SMS provides the

subscriber interface to the SCP (also including a detector) from the web client

through the web server (also including a detector), via the Internet. Id. The

subscriber sends instructions to control the call forwarding schedule through the

web server. EX1004, 6:33-48. The control instructions can include indications of

the first or second locations, such as setting an activation time and date, setting a

deactivation time and date, and identifying a telephone number to which calls are

to be forwarded. Id. The SCP processes incoming calls to the subscriber’s

telephone number in accordance with the updated call forwarding service data,

including the instructions (indications). Id.

      FIG. 2 illustrates a process flow for a subscriber to enter call forwarding

instructions (indications) through a web client, which are transmitted across a

packet data network and detected by the Web server (including a detector) and the

SMS (including a detector) and sent to the SCP (also including a detector):




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                                      Detector     Detector    Detector




     Phone at              Phone at
     First Location        Second Location




                                                                          Receives
                                                                          Indications




EX1004, FIG. 2 (annotated); EX1003, ¶71.

      FIG. 7 shows an exemplary web page presented to the web client by the

SMS for Flexible Call Forwarding. EX1004, 17:26-28. After accessing the web

page, the subscriber is presented with a number of options for each telephone

number in the account, including various Flexible Call Forwarding features.

EX1004, 16:18-21. Instructions (indications) input by the subscriber are sent from

the web client through the web server (including a detector) to the SMS (including

a detector), indicated respectively at steps 109 and 110 (FIG. 2 above). EX1004,

17:65-18:2. The SMS then sends the instructions (indications) to the SCP (also


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including a detector) to update the data stored at the SCP, as shown in step 112

(FIG. 2 above). EX1004, 18:3-8. FIG. 7 also displays a forward-to-number box

86, which is the telephone number to which incoming calls are forwarded.

EX1004, 17:52-54.




                                                  Call Fwd On / Off




                                                         Phone Number at
                                                         Second Location




EX1004, FIG. 7 (annotated); EX1003, ¶72. FIG. 7 also includes a call forwarding

box 80 for indicating whether Flexible Call Forwarding is on or off. EX1004,

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17:29-30. If Flexible Call Forwarding is off, then the system will not forward

calls, but rather route calls to the originally dialed number. Id.

      In Adams, multiple forwarding numbers can be used, each representing at

least one second location. EX1003, ¶73. For example, FIG. 9 shows various call

forwarding scenarios, including a standard forwarding number (box 94), a

forwarding number based on a schedule (box 95), and a forwarding number based

on a schedule and calling party (box 96). EX1004, 18:36-63.

   Phone Number at
   Second Location




                                                      Phone Number at
                                                      Another Second Location




                                                          Phone Number at
                                                          First Location

EX1004, FIG. 9 (annotated); EX1003, ¶73. FIG. 9 also shows on and off buttons

for each call forwarding scenario. Id. When call forwarding is off, calls are routed

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to the directory number 99, which is the telephone number of the subscriber using

the service (at the first location). EX1004, 18:35-50, FIG. 9. When call forwarding

is on, calls are routed to the forwarding number (at a second location). Id.

                          Element 1[B.1]

      Adams’ SMS (including a detector and an indexer) stores updated call

forwarding service data. EX1004, 7:65-66, 15:62-64. When a subscriber interacts

with the web page to add call forwarding information, the SMS receives the call

forwarding information, stores it, and also sends that data to the SCP (also

including a detector and indexer). EX1004, 18:1-9. The data stored at the SMS is

therefore duplicated by the data stored at the SCP. Id. FIG. 1 (below) shows the

SCP coupled to the SMS, which each include a detector and indexer coupled to

each other:




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            Detector and                                  Detector and
            Indexer                                       Indexer

                                                           Detector




   Telephonic Network


                                                         Packet Data Network


                                                                         Web Client




EX1004, FIG. 1 (annotated); EX1003, ¶74.

                           Element 1[B.2]

      Adams’ SMS stores updated call forwarding service data. EX1004, 7:65-66,

15:62-64. The SMS receives from the graphical user interface through the server,

by way of the packet switched data network, updated call forwarding service data.

EX1004, 17:65-18:9. The updated call forwarding service data includes features

that have been created or edited by the subscriber. EX1004, 7:58-67. After

accessing the web page, the subscriber is presented with a number of options for



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each telephone number in the account, including various Flexible Call Forwarding

features. EX1004, 16:18-21. When a subscriber interacts with the web page to add

call forwarding information, the SMS receives the call forwarding information and

stores it. EX1004, 18:1-9. Call forwarding service data corresponds to the

subscriber’s telephone number (calling indicia) and includes call forwarding

instructions (indications) in a PSTN and customized features. EX1004, 6:15-17,

7:14-16, 7:54-56. The call forwarding service data can include instructions for

accepting an incoming call, forwarding an incoming call to an alternative

telephone number, and processing the incoming call according to the call

forwarding service data. EX1004, 6:33-48, 9:13-17, 14:40-63, 15:20-32; EX1003,

¶75.

       In Adams FIG. 9, the forward-to numbers are the values representative of

the location selected by the user. EX1003, ¶76. In addition, the on/off selections

are also values representative of the location because they indicate whether to

forward calls to the forward-to number or to route calls to the subscriber’s

directory number. Id. The forward-to numbers and the on/off selections (values

representative of selection) are stored together (indexed) with the subscriber’s

directory number (calling indicia). Id.




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                                                     Values Representative




                                                      Values Representative




                                                     Calling Indicia


EX1004, FIG. 9 (annotated); EX1003, ¶76.

      Further, Adams discloses that “[t]he call forwarding services include

Flexible Call Forwarding,” “which can be implemented...through a Personal Call

Manager (PCM) system, along with other telecommunications services...”

EX1004, 5:25-31. Adams further discloses that “Flexible Call Forwarding may be

integrated with a Personal Call Manager (PCM) service to enhance functionality

and compatibility with other call control services.” EX1004, 22:2-4. Based on

Adams’ disclosure, a POSITA would have been motivated to improve Adams’

system (above) by implementing the Flexible Call Forwarding to include the PCM

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web pages as part of the graphical user interface provided to the user according to

the straightforward suggestion in Adam’s PCM example, thereby achieving a

predictable and beneficial result. EX1003, ¶77. The evidence here confirms that,

based upon Adam’s teaching, a POSITA would have recognized the simplicity of

such a modification to Adam’s system and the reasonable expectation of success in

adding the PCM web pages to the graphical user interface. Id. The POSITA

would have been prompted to implement this modification in Adam’s system so as

to advantageously provide enhanced functionality for the Flexible Call Forwarding

(e.g., functionality to manage multiple telephone numbers in a single account)

along with additional functionality for other telecommunication services (e.g.,

personal directories, caller identification, incoming call manager, and outgoing call

control). Id.; EX1004, 5:22-31, 24:7-17; 24:46-50, FIG. 17.

      Adams shows PCM web pages in FIGS. 17 and 18, which illustrate selection

of the subscriber’s phone number to open a web page associated with that phone

number:




                                         23
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                                                           Calling Indicia




EX1004, FIG. 17 (annotated), EX1004, 24:7-17; 24:46-50; EX1003, ¶78. FIG. 18

shows a PCM Home Page for the phone number selected in FIG. 17 above.

EX1004, 24:46-50. The services depicted in FIG. 18 include an Incoming Call

Manager, which retrieves data from the SCP (also including a detector and

indexer) and shows the status of call forwarding. EX1004, 24:65-67.




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                                                              Calling indicia




       Values representative of selection




EX1004, FIG. 18 (annotated); EX1003, ¶78. Thus, FIGS. 9, 17, and 18 indicate

that the subscriber’s account phone number (calling indicia) is stored in a database

(indexed) with the call forwarding on/off selection and corresponding forwarding

number (values representative of selection). Id.; EX1004, 5:48-50.

      In Adams, the data stored (in an index) at the SMS (including an indexer) is

duplicated by the data stored at the SCP (also including an indexer). EX1004, 18:8-

9. The SCP has a database (index) of call forwarding service data corresponding to

a subscriber’s telephone number. EX1004, 6:14-16. The database of call

forwarding service data corresponding to the subscriber’s telephone number is

accessible through the SMS from the web client. EX1004, 8:48-9:8. In response to



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an incoming telephone call, the SCP compares the called party’s telephone number

to a list of subscribers in the database, and based on the information for the

subscriber in the database (index), determines the forwarding instructions

including whether call forwarding is on/off and the forward-to telephone number.

EX1004, 20:1-21:56. The SMS and SCP, therefore, each includes an index of the

on/off selection and the forward-to-telephone number (values representative of

selection) and the subscriber’s telephone number (calling indicia). EX1003, ¶79.

                           Claim 2

                           Element 2[A]

      Adams shows a web client (packet communication station) coupled to the

Internet (packet data network). EX1004, FIG. 1. The web client is a PC. EX1004,

13:41-45. The evidence here shows that a POSITA would have understood that a

PC can be positioned anywhere with access to Internet connectivity, including at a

first location or a second location. EX1003, ¶80. FIG. 1 (below) shows the web

client coupled to the Internet:




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                                                           Packet data network

                                                           Packet Communication Station




EX1004, FIG. 1 (annotated); EX1003, ¶80.

                          Element 2[B]

      As stated previously (supra Ground 1, 1[A.1]-1[A.2]), the subscriber

transmits Flexible Call Forwarding information (indications) from the web client

(packet communication station) to a web server (including a detector), SMS

(including a detector), and SCP (also including a detector) using the Internet (or

other packet data network) to set up call forwarding features. EX1004, 6:33-48,

13:40-56, 17:65-18:9, 28:31-50, FIG. 2. FIG. 2 illustrates a process flow for a



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subscriber to enter call forwarding instructions (indications) through a web client

(packet communication station), which are transmitted across a packet data

network and detected by the Web server, SMS, and SCP:

   Packet Communication             Detector           Detector   Detector
   Station




  Indications provided by the user through
  operation of the packet communication station




EX1004, FIG. 2 (annotated); EX1003, ¶81.

                            Claim 3

      Once Adams’ web client is connected to the SMS (including a detector and

an indexer) via the web server (including a detector), the user provides

authentication information to access the corresponding account. EX1004, 16:3-10.

The SMS queries the subscriber for an account number, which is an indication of


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the subscriber’s phone number (calling indicia), and associated password, which

confirms the user's identity. Id. The Web server (including a detector) and SMS

(including a detector) receive the account number (indications of the calling

indicia) and password from the web client, and then the SMS retrieves the account

number and associated password information to confirm that the subscriber is an

authorized user. Id.

                                                  Detector     Detector




Detects Indications of
Calling Indicia




EX1004, FIG. 2 (annotated); EX1003, ¶82.

       Additionally, Adams’ PCM web pages in FIGS. 17 and 18 illustrate



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selection of an indication of the subscriber’s phone number to open a web page

associated with that phone number. EX1004, 24:7-17; 24:46-50. When a user

selects one of the subscriber’s account numbers (i.e., phone numbers), Adams’

detector detects an indication of the selected account phone number (calling

indicia):




                                                            Indications of Calling
                                                            Indicia




EX1004, FIG. 17 (annotated); EX1003, ¶83. FIG. 18 shows a PCM Home Page

for the phone number selected in FIG. 17 above. EX1004, 24:46-50. The services

depicted in FIG. 18 include an Incoming Call Manager, which retrieves data from

the SCP (also including a detector and indexer) and shows the status of call

forwarding. EX1004, 24:65-67.




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                                                              Calling indicia




       Values representative of selection




EX1004, FIG. 18 (annotated); EX1003, ¶83. FIG. 18 indicates that the

subscriber’s account phone number (calling indicia) is stored in a database

(indexed) with the call forwarding on/off selection and corresponding forwarding

number (values representative of selection). Id.; EX1004, 5:48-50.

                            Claim 4

      As stated above (supra Ground 1, Claim 3), Adams describes that the

subscriber uses a web client (packet communication station) to connect to an SMS

through a web server via the Internet (packet data network) to enter an account

number, which is an indication of the subscriber’s phone number (calling indicia),

and/or to select one of the subscriber’s account phone numbers (calling indicia)


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and access the call forwarding features associated with the subscriber’s account.

EX1004, 16:3-10, 24:16-17, 24:46-50, 24:65-67, FIGS. 2, 17-18; EX1003, ¶84.

                         Claim 5

                         Element 5[A]

      Adams describes a subscriber phone (telephonic-network communication

station) connected to the telephonic network, as shown in FIG. 1:




                                                      Telephonic network


                                                        Telephonic station




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EX1004, FIG. 1 (annotated); EX1003, ¶85. FIG. 2 of Adams shows that both a

subscriber phone and a forwarding number phone can be connected to the

telephonic network but at different physical locations:




      Telephonic stations at different locations




EX1004, FIG. 2 (annotated); EX1003, ¶85.

      In addition, Adams’ FIG. 9 shows that a subscriber can have calls routed to

more than one phone, including to a directory number at a first location or to one

or more forwarding numbers at second locations:




                                               33
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                                                  Forwarding numbers of phones
                                                  at second locations




                                                   Directory number of phone
                                                   at first location
EX1004, FIG. 9 (annotated); EX1003, ¶86.

                         Element 5[B]

      Adams’ FIG. 9 shows that each telephonic station includes its own telephone

number, which is a calling code:




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                                                     Calling Codes of Phones at
                                                     Second Location




                                                       Calling Code of Phone at
                                                       First Location
EX1004, FIG. 9 (annotated); EX1003, ¶87. FIG. 9 indicates that the forwarding

telephone numbers (calling codes) of the various phones associated with the user

are indexed together by the SMS and SCP (both including indexers) with the

directory telephone number (calling indicia including the calling code). Id.; supra,

Ground 1, 1[B.2].

                          Claim 6

      As previously discussed (supra Ground 1, 1[B.1]-1[B.2]), Adams’ SMS

(which includes an indexer) is coupled to the telephonic network through the SCP

(which also includes an indexer), as shown in FIG 1:



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                 Detector and                                  Detector and
                 Indexer                                       Indexer




         Telephonic Network




EX1004, FIG. 1 (annotated); EX1003, ¶88. The SMS stores updated call

forwarding service data and transmits the updated call forwarding service data to

the SCP. EX1004, 18:5-9. The SCP stores the updated call forwarding service

data for implementing the call forwarding service in response to incoming calls to

the subscriber’s telephone number. Id. The data stored at the SMS is therefore

duplicated at the SCP. Id.

      The SCP processes telephone calls in a PSTN. EX1004, 9:37-42. The SCP

has a database (index) of call forwarding service data corresponding to a telephone

number of the subscriber. Id. The SCP processes incoming calls to the

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subscriber’s telephone number in accordance with call forwarding service data.

EX1004, 6:44-49. In response to an incoming telephone call, the SCP compares

the called party’s telephone number to a list of subscribers in the database, and

based on the information for the subscriber in the database (index), determines the

forwarding instructions including whether the Flexible Call Forwarding is on or off

and the forward-to telephone number. EX1004, 20:1-21:56; EX1003, ¶89.

      In more detail, Adams FIG. 11 is a call flow diagram depicting an example

of Flexible Call Forwarding in response to an incoming telephone call:




                                                         Incoming call
              Accessing index




EX1004, FIG. 11 (annotated), 20:1-3; EX1003, ¶90. The SCP includes a database

of call forwarding service data (values representative of selection) that corresponds



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to the telephone number of a subscriber (calling indicia). EX1004, 5:47-50. A

calling party places a call to the telephone number of the subscriber phone, and the

call proceeds to an SSP. EX1004, 20:3-5. The SCP receives a Terminating

Attempt Trigger (TAT) from the SSP. EX1004, 20:5-8. The data corresponding to

the TAT includes a called party identification number and a calling party

identification number. EX1004, 20:15-18. After receiving the TAT, the SCP

determines whether Flexible Call Forwarding is ON or OFF for the subscriber.

EX1004, 20:33-37. The SCP accesses a scheduler table to execute call forwarding.

EX1004, 21:1-3. The table stores a telephone number corresponding to the various

activation periods of Flexible Call Forwarding. EX1004, 21:9-12. The SCP 23

instructs the SSP 24 to forward the call to the designated phone number 36. Id.,

21:38-40. The call is then routed accordingly. Id., 21:40-41.

      Adams’ FIG. 9 shows an exemplary web page that displays summary

information from a weekly schedule, including a basic call forwarding function in

which calls are forwarded to a forwarding telephone number:




                                         38
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                                                      Forwarding number




                                                     Subscriber’s number


EX1004, FIG. 9 (annotated), 18:31-34; EX1003, ¶91. FIG. 9 shows whether call

forwarding is ON or OFF for the subscriber, and to which telephone numbers to

forward incoming calls. Id.

      Therefore, the indexer at the SMS and the indexer at the SCP is coupled to

the telephonic network. EX1003, ¶92. The index embodied in a database at the

SCP is accessible via the telephonic network to route an incoming call. Id.




                                        39
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                             Claim 7

                             Element 7[A]

      Adams discloses that users are often interested in altering some call services

(e.g., call forwarding) when they are away from their business telephone and PC.

EX1004, 2:37-40. Adams’ FIG. 2 shows a subscriber phone 25 (normally-called

location having a normally-called telephonic station) and a phone associated with a

forwarding number 36:




      Telephonic stations at different locations




EX1004, FIG. 2 (annotated); EX1003, ¶93. A calling party 20 places a call to the

telephone number of the subscriber phone 25. EX1004, 20:3-5.

      Adams’ FIG. 17 shows a telephone number associated with a telephonic



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station at each of the normally-called locations:




                                                          Phone Numbers at
                                                          Normally-Called Locations




EX1004, 24:16-17; 24:46-50, FIG. 17 (annotated); EX1003, ¶94.

                          Element 7[B]

      Adams’ FIG. 9 indicates that a directory number (a number for a normally-

called location) is indexed together with forwarding numbers (values

representative of selection):




                                         41
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                                                    Values Representative of Selection




                                                     Phone number at Normally
                                                     Called Location

EX1004, FIG. 9 (annotated); EX1003, ¶95. The directory number 99 at the bottom

of the screen is the telephone number of the subscriber using the service. EX1004,

18:34-36.

      FIG. 18 (below) shows a PCM Home Page for a selected directory phone

number (normally-called number at the normally-called location). EX1004, 24:46-

50. The services depicted in FIG. 18 include an Incoming Call Manager, which

indexes the directory number (normally-called number) with the forwarding

number (values representative of selection). EX1004, 24:65-67.




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                                                            Normally Called Number




       Values representative of selection




EX1004, FIG. 18 (annotated); EX1003, ¶96. As shown in FIG. 18 above, the

value representative of the normally-called location is the subscriber’s account

phone number. Id. As previously discussed (supra Ground 1, 1[B.2]), this number

is indexed with the forwarding on/off selection and corresponding forwarding

number (values representative of selection). EX1004, 6:14-16, 7:58-67, 8:48-9:8,

18:1-9; EX1003, ¶96.

                            Claim 8

      As previously discussed (supra Ground 1, 7[B]), Adams discloses that the

value representative of the normally-called location is the subscriber’s account

phone number (normally-called-location dialing code). EX1004, 24:46-50, 24:65-


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67, FIGS. 9, 18. This number is indexed with the forwarding on/off selections and

corresponding forwarding number (values representative of selection). EX1004,

6:14-17, 7:58-67, 8:48-9:8, 18:1-9; EX1003, ¶97.

                           Claim 9

                           Element 9[A]

      As previously discussed (supra Ground 1, claims 6-8), Adams describes that

a calling party places a call to the telephone number (normally-called location

dialing code) of the subscriber phone. EX1004, 20:3-5, FIG. 11. As shown in FIG.

11, to begin the call routing process, at step 142, calling party 20 places a call to

the telephone number of the subscriber phone 25:




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Calling party calls telephone number of subscriber phone




EX1004, FIG. 11 (annotated), 20:3-5; EX1003, ¶98.

                         Element 9[B]

      As previously discussed (supra Ground 1, claims 6-7), Adams’ SCP

processes telephone calls in a PSTN. EX1004, 9:37-42. The SCP has a database

(index) of call forwarding service data corresponding to a telephone number of the

subscriber. EX1004, 9:37-42. The SCP processes incoming calls to the

subscriber’s telephone number in accordance with call forwarding service data.

EX1004, 6:44-49. In response to an incoming telephone call, the SCP compares


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the called party’s telephone number to a list of subscribers in the database, and

based on the information for the subscriber in the database (index), determines the

forwarding instructions including whether the Flexible Call Forwarding is on or off

and the forward-to telephone number. EX1004, 20:1-21:56; EX1003, ¶99.

                          Claim 10

      As previously discussed (supra Ground 1, 1[B.1]-1[B.2]), Adams’ SMS

(including a detector and indexer) stores updated call forwarding service data.

EX1004, 7:65-66, 15:62-64. When a subscriber interacts with the web page to add

call forwarding information, the SMS receives the call forwarding information,

stores it, and also sends that data to the SCP (also including a detector and

indexer). EX1004, 18:1-9; EX1003, ¶100. The data stored at the SMS is therefore

duplicated by the data stored at the SCP (indexer embodied thereat). Id.

                          Claim 12

      Adams’ data network includes a Web client 30, a Web server 54 and a

service management system (SMS) 48, connectable through the Internet 44 (public

network portion), as shown in FIG. 1:




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                                                             Data Network including SMS
                                                             (Detector) and Web Server
                                                             (Detector)




EX1004, FIG. 1 (annotated), 13:41-56, 22:28-38; EX1003, ¶101.

                           Claim 13

                           Element 13[P.1]

        To the extent the preamble is treated as a limitation, Adam discloses this

element of the preamble as detailed above. Supra, Ground 1, 1[P.1]; EX1003,

¶102.




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                           Element 13[P.2]

        Also to the extent the preamble is treated as a limitation, Adams discloses

this element of the preamble as detailed above. Supra, Ground 1, 1[P.2]; EX1003,

¶103.

                           Element 13[A]

        Adams discloses the claimed detecting step as detailed above. Supra,

Ground 1, 1[A.1]-1[A.2]; EX1003, ¶104.

                           Element 13[B]

        Adams discloses the claimed forming step as detailed above. Supra, Ground

1, 1[B.1]-1[B.2]; EX1003, ¶105.

                           Element 13[C]

        Adams discloses the claimed accessing step as detailed above. Supra,

Ground 1, claim 6; EX1003, ¶106.

                           Element 13[D]

        With reference to FIG. 11 (below), Adams’ SCP instructs the SSP to

forward the call to the forwarding number 36 and the call is then routed. EX1004,

21:27-28, 21:38-41.




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            Forwarding Number



                                                SCP Routes Incoming Call
                                                to Forwarding Number




EX1004, FIG. 11 (annotated); EX1003, ¶107. To instruct the SSP to forward a

call, the SCP sends a forward call message to the SSP. EX1004, 21:43-50. The

SSP then completes the connection between the calling party and the forwarding

number 36, resulting in a final connection between the two. Id.

                         Claim 14

                         Element 14[A]

      Adams discloses this element of claim 14 as detailed above. Supra, Ground

1, 2[A]; EX1003, ¶108.




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                         Element 14[B]

      Adams discloses this additional element of claim 14 as detailed above.

Supra, Ground 1, 1[A.1]-1[A.2], 2[B]; EX1003, ¶109.

                         Claim 15

      Adams discloses claim 15 as detailed above. Supra, Ground 1, 1[A.2],

claims 3-4; EX1003, ¶110.


                         Claim 16

                         Element 16[A]

      Adams discloses this element of claim 16 as detailed above. Supra, Ground

1, 7[A]; EX1003, ¶111.

                         Element 16[B]

      Adams discloses this element of claim 16 as detailed above. Supra, Ground

1, 7[B]; EX1003, ¶112.

                         Claim 17

      Adams discloses claim 17 as detailed above. Supra, Ground 1, claim 6;

EX1003, ¶113.

                         Claim 18

      Adams discloses claim 18 as detailed above. Supra, Ground 1, 7[B], claim

8; EX1003, ¶114.


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                          Claim 19

                          Element 19[A]

      Adams discloses this element of claim 19 as detailed above. Supra, Ground

1, 1[P.1], 5[A]; EX1003, ¶115.

                          Element 19[B]

      Adams discloses this additional element of claim 19 as detailed above.

Supra, Ground 1, 5[B]; EX1003, ¶116.

                          Claim 20

      Adams discloses claim 20 as detailed above. Supra, Ground 1, 1[B.1]-

1[B.2], claims 6, 10; EX1003, ¶117.

                   GROUND 2—Adams in view of Chestnut Renders Obvious
                   Claims 1-20

                          Claim 1

                          Element 1[P.1]

      To the extent the preamble is treated as a limitation, Adams’ communication

system includes a packet data network and a telephonic network through which the

subscriber communicates using a subscriber phone and a forward number phone.

EX1004, 5:21-37, 6:18-32, FIG. 1; EX1003, ¶126; supra Ground 1, 1[P.1].

      To the extent that Adams were considered to not expressly disclose that a

user selectably communicates at any of a first location and at least a second


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location through a packet data network, similar prior art techniques for call

forwarding provided this feature. EX1003, ¶127. In the same field of endeavor,

Chestnut describes that a user can selectably communicate using a packet data

network and/or a telephonic network from either a first location or a second

location, as shown in FIG. 1:




                                                               Telephonic Network




                                                                        Second Location



First Location




                         Packet Data Network

EX1005, FIG. 1 (annotated), 4:36-5:2; EX1003, ¶127. Chestnut describes “a

telecommunications management system which closely integrates a company’s

LAN with its telephone network and makes the same CTI application functions




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available to an employee whether they are in the office or working from a remote

location.” EX1005, 2:14-24; EX1003, ¶¶56-61.

      A POSITA would have recognized the predictable benefits of applying

Chestnut’s suggestion to Adams’ system to integrate a company’s LAN with the

telephone network and to control call forwarding based on the computer terminal

used to log on to the company’s LAN. EX1005, 2:25-30; EX1003, ¶¶118-125,

128. The evidence here demonstrates that the predictable application of Chestnut’s

suggestion to Adams’ system would have beneficially produced a system where a

computer terminal, such as an office workstation, is connected to the web server

being embodied at a company’s LAN, and the SCP, SMS, and web server are

implemented to additionally provide the functionalities of Chestnut’s telecommute

server. Id. Implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in a user having phones connected to a telephonic network at a

first location (e.g., called party office extension 10) and a second location (e.g.,

called party home phone 22), and having computers directly or indirectly coupled

to a computer network (packet data network) at the first location (e.g., called party

office workstation 20) and at the second location (e.g., called party home

workstation 26). Id. As depicted below, the evidence here demonstrates an

example of the predictable combination of Adam’s system with Chestnut’s

suggestion showing workstations at different locations with an office workstation


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at the first location connected to the web server via the corporate LAN:

                                               Office Workstation at First Location




                                                                 Web Server
                                                                 embodied at a
                                                                 corporate LAN




     Telephonic Network


                                                             Packet Data Network
                                                             Home Workstation
                                                             at Second Location




                                                Forward-to
                                                  Phone


EX1003, ¶¶119, 128 (annotating EX1004, FIG. 1 and citing EX1005, 4:36-5:2).

The evidence here also demonstrates another example of the predictable

combination of Adam’s system with Chestnut’s suggestion of the home

workstation being connected directly to the Internet, as depicted below:




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                                               Office Workstation at First Location




                                                                 Web Server
                                                                 embodied at a
                                                                 corporate LAN




     Telephonic Network


                                                             Packet Data Network
                                                             Home Workstation
                                                             at Second Location




                                                Forward-to
                                                  Phone


EX1003, ¶128 (annotating EX1004, FIG. 1 and citing EX1005, 4:36-5:2, FIG. 1).

      Consistent with the combination of Adams and Chestnut, the web server

would receive a network identifier for the device with which the user is logged on

to the LAN and send the network identifier as part of the call forwarding

instructions to the SMS which sends it to the SCP. EX1004, 17:65-18:9; EX1005,

4:48-5:2, 6:13-24, 6:33-38; EX1003, ¶120. The SMS and SCP would index call

forwarding instructions including the network identifier with the subscriber’s



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business telephone number. Id.; EX1004, 6:14-16, 8:48-9:8, FIG. 17. The SCP

would select the telephone number to which incoming calls to the subscriber’s

business telephone number should be forwarded based on the index, which

associates a forwarding telephone number, such as the number for subscriber’s

home phone, with a network logon device, such as the subscriber’s home

workstation. Id.; EX1004, 6:44-47, 9:37-42, 20:1-21:56.

      The evidence here shows that a POSITA would have been prompted to

implement Chestnut’s suggestion into Adams to achieve this advantageous feature,

and that doing so would have been achieved with the high degree of predictability

and reasonable expectation of success. EX1003, ¶121. According to the evidence,

multiple reasons (articulated below) would have prompted a POSITA to implement

Chestnut’s suggestion in Adams. EX1003, ¶122.

      First, a POSITA would have been motivated to implement Chestnut’s

suggestion into Adams to achieve the known benefits of integrating a company’s

LAN with the telephone network, including extending the functionality of the

office telephone system to the phone that is available at the employee’s remote

location. EX1003, ¶123; EX1005, 2:25-30. Adams explains that “Internet based

systems operate exclusively from the conventional IVR systems, i.e., the two

systems cannot coexist, [and] customers must select either the Internet interface or

the IVR interface.” EX1004, 2:29-33. “Consequently, a customer who has selected


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the Internet interface, and who is without a PC and/or Internet access, is not able to

make desired changes to his or her services through an IVR.” Id., 2:33-36. “The

inability to implement desired changes is especially troublesome considering that

users are often interested in altering some call services...when they are away from

their home or business telephone and PC.” EX1004, 2:36-40.

      Chestnut recognizes that “the lack of integration between a company’s

telephone system and LAN means that an employee has to...manually set call

forwarding, and then remotely log on to the company's LAN.” EX1005, 2:1-5.

Further, “[a]fter logging off the LAN, the employee must remember...to

discontinue call forwarding.” EX1005, 2:9-11. A POSITA would have recognized

that implementing Chestnut’s suggestion into Adams would have provided a

system that automatically forwards calls based on the computer terminal used to

log on to the company’s LAN without requiring the employee to manually set and

discontinue call forwarding before logging on and after logging off the LAN.

EX1003, ¶124; EX1005, 2:34-44, 4:48-5:2, 6:13-24, 6:33-38.

      Second, the evidence here also shows that a POSITA would have been

motivated to implement Chestnut’s suggested improvement into Adams’ system

because doing so would have been merely the application of a known technique

(e.g., Chestnut’s suggestion to integrate a company’s LAN with the telephone

network and to control call forwarding based on the computer terminal used to log


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on to the company’s LAN) to a known system (Adams’ call forwarding system)

ready for improvement to yield predictable results. EX1003, ¶125. The law is

straightforward: “when a patent ‘simply arranges old elements with each

performing the same function it had been known to perform and yields no more

than one would expect from such an arrangement, the combination is obvious.”

KSR Int'l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007). Here, both Adams and

Chestnut describe call forwarding systems, and a POSITA would have recognized

that Chestnut’s suggestions would have been readily and beneficially applied to

Adams. EX1004, 1:17-19; EX1005, 1:4-9; EX1003, ¶125. A POSITA would have

furthermore had a reasonable expectation of success in implementing Chestnut’s

suggestion into the Adam’s system as they both are directed to the same aspect of

the same technology. Id. A POSITA would have recognized that applying

Chestnut’s teachings to Adams’ system would have led to predictable results

without significantly altering or hindering the functions performed by Adams’

system. Id.

                           Element 1[P.2]

      To the extent the preamble is treated as a limitation, Adams’ apparatus

facilitates routing of a call to the user placed by a calling party by way of the

telephonic network. EX1004, 20:1-21:56; EX1003, ¶129; supra, Ground 1, 1[P.2].

For example, Adams’ SMS transmits and receives information to and from the


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SCP. EX1004, 13:47-56 The SMS maintains and distributes subscriber specific

data for the Flexible Call Forwarding service. Id.

      Additionally, Chestnut controls call forwarding based upon user activity on

an associated computer terminal, thereby extending the functionality of the office

telephone system to whatever phone the employee has available at a remote

location. EX1005, 2:25-30. For the reasons and known benefits articulated above

(supra Ground 2, 1[P.1]), implementing Chestnut’s suggestion into Adams’ system

would have predictably resulted in additionally functionality to control call

forwarding based on the computer terminal used to log on to the company’s LAN.

EX1005, 2:25-30; EX1003, ¶130.

                          Element 1[A.1]

      The Adams-Chestnut combination provides the claimed detector through

Adams’ disclosure as detailed above. Supra, Ground 1, 1[A.1]; EX1003, ¶131.

Adams’ detector is modified to include additionally functionality to control call

forwarding based on the computer terminal used to log on to the company’s LAN,

as suggested by Chestnut and described below. Id.

                          Element 1[A.2]

      As previously stated (supra Ground 1, Claim 1[A.2]), Adams’ Web server,

SMS, and SCP receive call forwarding instructions (indications) across the Internet




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of which location calls directed to the subscriber should be forwarded. EX1004,

6:33-48, 13:40-56; EX1003, ¶132.

      To the extent that Adams’ call forwarding instructions were considered to

not expressly disclose indications of at which of the first and at least second

locations at which the user selects to communicate by way of the first telephonic

network, similar prior art techniques for call forwarding provided this feature.

EX1003, ¶133. Similar to Adams, Chestnut describes that “forwarding preferences

may be entered by the called party when he/she logs onto or off of the computer

network” and that Chestnut’s server “can also forward incoming calls based upon

other criteria including day or date, time of day, the identity of the caller, or any

preprogrammed set of rules.” EX1005, 5:13-25, 6:39-42. Additionally, Chestnut’s

server checks the computer network (packet data network) to see if the called party

is logged on. EX1005, 4:51-57. If the called party is logged on, the call is

forwarded to the telephone extension associated with the device the called party

has used to log onto the computer network. Id. The telephone number to which

incoming calls should be forwarded is selected based upon a record stored in a

memory which associates a forwarding telephone number, such as the number for

the called party home phone, with an identifier of the network logon device, such

as the called party home workstation. EX1005, 4:64-5:2, 6:13-24, 6:33-38.




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      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the Web server (including a detector), the SMS (including a

detector), and the SCP (including a detector) receiving the identifier of the

computer where the user is logged into (indications of at which of the first and at

least second locations at which the user selects to communicate by way of the first

telephonic network) to forward incoming calls for the user. EX1003, ¶134.

                          Element 1[B.1]

      The Adams-Chestnut combination provides the claimed indexer through

Adams’ disclosure as detailed above. Supra, Ground 1, 1[B.1]; EX1003, ¶135.

Adams’ indexer is modified to include additionally functionality to control call

forwarding based on the computer terminal used to log on to the company’s LAN,

as suggested by Chestnut and described below. Id.

                          Element 1[B.2]

      As previously stated (supra Ground 1, 1[B.2]), each of Adams’ SMS and

SCP includes an indexer that is coupled to the detector and that forms an index by

indexing forward-to numbers and the on/off selections (values representative of

selection) together with the subscriber’s account phone number (calling indicia).

EX1004, 7:65-66, 15:62-64, 18:1-9, FIGS. 9, 17-18; EX1003, ¶136.




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      To the extent that Adams’ disclosure of indexing forward-to numbers and

the on/off selections together with the subscriber’s account phone number were

considered to not expressly disclose indexing together values representative of

selection made by the user of the selected one of the first and at least second

locations together with calling indicia used to route the call to the selected one of

the first location and the at least the second location, similar prior art techniques

for call forwarding provided this feature. EX1003, ¶¶137-138. For instance,

Chestnut describes an index storing an office extension (calling indicia) with an

identity of the party, a list (index) including the identity of the party associated

with the identity of the current network logon device (values representative of

selection), and a list (index) including identities of logon devices indexed with

telephone numbers (also values representative of selection). Id.; EX1005, 4:64-

5:2, 6:13-24, 6:33-38. Similar to Adams, Chestnut also discloses that “[o]ther

factors including time of day, day of the week, date, and/or the identity of the

calling party may be used to determine the forwarding number by providing

additional indexing criteria.” EX1004, 6:39-42.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the databases at the SMS and SCP including an index

storing an office extension (calling indicia) with an identity of the party, a list


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(index) including the identity of the party associated with the identity of the current

network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with telephone numbers (also values

representative of selection) to control call forwarding based on the computer

terminal used to log on to the company’s LAN, as suggested by Chestnut.

EX1005, 2:25-30, 4:58-5:2, 6:13-24, 6:33-38; EX1003, ¶139. The SCP would

select the telephone number to which incoming calls to the subscriber’s business

telephone number should be forwarded based on the index, which associates a

forwarding telephone number, such as the number for subscriber’s home phone,

with a network logon device, such as the subscriber’s home workstation. Id.;

EX1004, 6:44-47, 9:37-42, 20:1-21:56; EX1005, 4:48-5:2.

                          Claim 2

                          Element 2[A]

      The Adams-Chestnut combination provides this element of claim 2 as

detailed above. Supra, Ground 1, 2[A], Ground 2, 1[P.1]; EX1003, ¶140. For the

reasons and known benefits articulated above (supra Ground 2, 1[P.1]),

implementing Chestnut’s suggestion into Adams’ system would have predictably

resulted in a user having phones connected to a telephonic network at a first

location (e.g., called party office extension 10) and a second location (e.g., called

party home phone 22), and having computers directly or indirectly coupled to a

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computer network (packet data network) at the first location (e.g., called party

office workstation 20) and the second location (e.g., called party home workstation

26). EX1005, 4:36-5:2, FIG. 1; EX1003, ¶140.

                          Element 2[B]

      As previously discussed (supra Ground 1, 2[B]), Adams’ Web server, SMS,

and SCP receive call forwarding instructions (indications) across the Internet of

which location calls directed to the subscriber should be forwarded. EX1004, 6:33-

48, 13:40-56; EX1003, ¶141.

      Also as previously discussed (supra Ground 2, 1[A.2]), Chestnut’s server

checks the computer network (packet data network) to see if the called party is

logged on. EX1005, 4:51-57. For the reasons and known benefits articulated

above (supra Ground 2, 1[P.1]), implementing Chestnut’s suggestion into Adams’

system would have predictably resulted in the Web server (including a detector),

the SMS (including a detector), and the SCP (including a detector) receiving the

identifier of the computer where the user is logged into (indications of at which of

the first and at least second locations at which the user selects to communicate by

way of the first telephonic network) to forward incoming calls for the user.

EX1003, ¶142.




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                           Claim 3

      As previously stated (supra Ground 1, Claim 3), Adams’ SMS queries the

subscriber for an account number, which indicates the subscriber’s phone number.

EX1004, 16:3-10, 24:16-17, 24:46-50; EX1003, ¶143. The Web server, SMS, and

SCP receive an indication of the subscriber’s account phone number, the call

forwarding on/off selection, and corresponding forwarding number, which are

stored (indexed) together by the SMS and SCP in a database (index). EX1004,

5:48-50, 17:65-18:9, FIGS. 9, 17-18.

      Also as previously discussed (supra Ground 2, 1[B.2]), Chestnut describes

an index storing an office extension (calling indicia) with an identity of the party, a

list (index) including the identity of the party associated with the identity of the

current network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with telephone numbers (also values

representative of selection). EX1005, 4:58-5:2, 6:13-24, 6:33-42; EX1003, ¶144.

      As previously discussed (supra Ground 2, 1[A.2]), implementing Chestnut’s

suggestion into Adams’ system would have predictably resulted in the Web server

(including a detector), the SMS (including a detector), and the SCP (including a

detector) receiving the identifier of the computer where the user is logged into

(indications of at which of the first and at least second locations at which the user

selects to communicate by way of the first telephonic network) to forward


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incoming calls for the user. EX1005, 4:51-5:2, 6:13-24, 6:33-42; EX1003, ¶145.

Additionally, the databases of the SMS and SCP would each include an index

storing an office extension (calling indicia) with an identity of the party, a list

(index) including the identity of the party associated with the identity of the current

network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with telephone numbers (also values

representative of selection) to control call forwarding based on the computer

terminal used to log on to the company’s LAN, as suggested by Chestnut. Id.;

EX1005, 2:25-30.

                           Claim 4

      As previously discussed (supra Ground 1, claims 3-4), Adams’ Web server,

SMS, and SCP receive from the Web client a subscriber’s account phone number,

the call forwarding on/off selection, and corresponding forwarding number, which

are stored (indexed) together by the SMS and SCP in a database (index). EX1004,

6:11-22, 6:27-32; EX1003, ¶146.

      Similar to Adams, Chestnut describes that “forwarding preferences may be

entered by the called party when he/she logs onto or off of the computer network”

and that Chestnut’s server “can also forward incoming calls based upon other

criteria including day or date, time of day, the identity of the caller, or any

preprogrammed set of rules.” EX1005, 5:13-25, 6:39-42. As previously discussed


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(supra Ground 2, 1[A.2], claim 3), Chestnut’s server checks the computer network

(packet data network) to see if the called party is logged on. EX1005, 4:51-57;

EX1003, ¶147. If the called party is logged on, the call is forwarded to the

telephone extension associated with the device the called party has used to log onto

the computer network. Id. The telephone number to which incoming calls should

be forwarded is selected based upon a record stored in a memory which associates

a forwarding telephone number, such as the number for the called party home

phone, with an identifier of the network logon device, such as the called party

home workstation. EX1005, 4:58-5:2, 6:13-24, 6:33-38.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the Web server (including a detector), the SMS (including a

detector), and the SCP (including a detector) receiving from the Web client a

subscriber’s account phone number (calling indicia), the selective call forwarding

on/off selection, corresponding forwarding number, and the identifier of the

computer where the user is logged into to forward incoming calls for the user.

EX1003, ¶148.

                          Claim 5

                          Element 5[A]

      The Adams-Chestnut combination provides this element of claim 5 as

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detailed above. Supra, Ground 1, 5[A], Ground 2, 1[P.1]; EX1003, ¶149. For the

reasons and known benefits articulated above (supra Ground 2, 1[P.1]),

implementing Chestnut’s suggestion into Adams’ system would have predictably

resulted in a user having phones connected to a telephonic network at a first

location (e.g., called party office extension 10) and a second location (e.g., called

party home phone 22), and having computers directly or indirectly coupled to a

computer network (packet data network) at the first location (e.g., called party

office workstation 20) and the second location (e.g., called party home workstation

26). EX1005, 4:36-5:2, FIG. 1; EX1003, ¶149.

                           Element 5[B]

      As stated previously (supra Ground 1, 5[B]), Adams describes that each

telephonic station includes its own telephone number (calling code), including the

subscriber’s directory number (calling indicia) and the forward-to numbers.

EX1004, FIG. 9; EX1003, ¶150.

      As previously described (supra Ground 2, 1[B.2]), Chestnut describes an

index storing an office extension (calling indicia/code) with an identity of the

party, a list (index) including the identity of the party associated with the identity

of the current network logon device (values representative of selection), and a list

(index) including identities of logon devices indexed with telephone numbers (also

values representative of selection). EX1005, 4:58-5:2, 6:13-24, 6:33-38; EX1003,


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¶151. For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the databases of the SMS and SCP each including an index

storing an office extension (calling indicia/code) with an identity of the party, a list

(index) including the identity of the party associated with the identity of the current

network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with telephone numbers (also values

representative of selection) to control call forwarding based on the computer

terminal used to log on to the company’s LAN, as suggested by Chestnut. Id.;

EX1005, 2:25-30.

                           Claim 6

      As previously discussed (supra Ground 1, claim 6), Adams’ SCP processes

telephone calls in a PSTN. EX1004, 9:37-42; EX1003, ¶152. The SCP has a

database (index) of call forwarding service data corresponding to a telephone

number of the subscriber. EX1004, 9:37-42. The SCP processes incoming calls to

the subscriber’s telephone number in accordance with call forwarding service data.

EX1004, 6:44-49. In response to an incoming telephone call, the SCP compares

the called party’s telephone number to a list of subscribers in the database, and

based on the information for the subscriber in the database (index), determines the




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forwarding instructions including whether the Flexible Call Forwarding is on or off

and the forward-to telephone number. EX1004, 20:1-21:56.

      Also as previously discussed (supra Ground 2, 1[B.2]), Chestnut describes

that a telephone call is received and the identity of the called party is determined

by looking up the dialed extension in an index stored in a computer memory.

EX1005, 6:9-24; EX1003, ¶153. The current called party network logon device is

determined by comparing the identity of the called party with a list (index) of

persons currently logged onto the computer network. Id. The telephone number

associated with the current called party network logon device is determined by

comparing the identity of the logon device with a list (index) of telephone numbers

indexed by logon device stored in a memory. EX1005, 6:34-42. The telephone

number to which incoming calls should be forwarded is selected based upon a

record (index) stored in a memory which associates a forwarding telephone

number, such as the number for called party home phone, with a network logon

device, such as called party home workstation. EX1005, 4:58-5:2.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the databases at the SMS and SCP including an index

storing an office extension (calling indicia) with an identity of the party, a list

(index) including the identity of the party associated with the identity of the current


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network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with telephone numbers (also values

representative of selection) to control call forwarding based on the computer

terminal used to log on to the company’s LAN, as suggested by Chestnut.

EX1005, 2:25-30, 4:58-5:2, 6:13-24, 6:33-38; EX1003, ¶154. The SCP would

select the telephone number to which incoming calls to the subscriber’s business

telephone number should be forwarded based on the index, which associates a

forwarding telephone number, such as the number for subscriber’s home phone,

with a network logon device, such as the subscriber’s home workstation. Id.;

EX1004, 6:44-47, 9:37-42, 20:1-21:56.

                          Claim 7

                          Element 7[A]

      As previously stated (supra Ground 1, 7[A]), Adams describes a subscriber

phone (normally-called telephonic station) and a forward-to number, representative

of one or more other phones at different locations. EX1004, FIGS. 2, 9, 17;

EX1003, ¶155.

      Additionally, Chestnut describes that an outside caller places a call to the

called party office extension (telephonic station at the normally-called location)

and that the called party office extension can be the default telephone number.

EX1005, 4:48-5:2, 5:26-30. Notably, the ’658 patent describes an office location

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as the normally-called location. EX1001, 7:17-21, 8:26-27. FIG. 1 of Chestnut

shows the called party office extension:




                       Normally-called telephonic station




EX1005, FIG. 1 (annotated); EX1003, ¶156.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the office extension (telephonic station at the normally-

called location) being the subscriber phone associated with the subscriber’s

account. EX1003, ¶157.




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                           Element 7[B]

      As previously described (supra Ground 1, 7[B], Ground 2, 1[B.2]), Adams

describes that a subscriber’s account number (a number for a normally-called

location) is indexed together with on/off selections and forwarding numbers

(values representative of selection). EX1004, FIG. 9. Additionally, Chestnut

describes indexing an office extension (at the normally-called location) with an

identity of the party, indexing the identity of the party with the identity of the

current network logon device (values representative of selection), and indexing

identities of logon devices with telephone numbers. EX1005, 4:58-5:2, 6:13-24,

6:33-38; EX1003, ¶158.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the database (index) of Adams indexing an office extension

(values representative of the normally-called location) with an identity of the party,

indexing the identity of the party with the identity of the current network logon

device (values representative of selection), and indexing identities of logon devices

with telephone numbers (also values representative of selection), thereby indexing

an office extension (values representative of the normally-called location) with the

identity of the current network logon device and corresponding telephone number




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(values representative of selection). EX1005, 2:25-30, 4:58-5:2, 6:13-24, 6:33-38;

EX1003, ¶159.

                          Claim 8

      The Adams-Chestnut combination provides claim 8 as detailed above.

Supra, Ground 1, claim 8, Ground 2, 7[B]; EX1003, ¶160. For the reasons and

known benefits articulated above (supra Ground 2, 1[P.1]), implementing

Chestnut’s suggestion into Adams’ system would have predictably resulted in the

database (index) of Adams indexing an office extension (normally-called-location

dialing code) with an identity of the party, indexing the identity of the party with

the identity of the current network logon device, and indexing identities of logon

devices with telephone numbers, thereby indexing an office extension (normally-

called-location dialing code) with the identity of the current network logon device

and the corresponding phone number. EX1005, 2:25-30, 4:58-5:2, 6:13-24, 6:33-

38; EX1003, ¶160.

                          Claim 9

                          Element 9[A]

      As previously discussed (supra Ground 1, claim 6, 9[A]), Adams describes

that a calling party places a call to the telephone number (normally-called location

dialing code) of the subscriber phone. EX1004, 20:3-5, FIG. 11; EX1003, ¶161.

      Also as previously discussed (supra Ground 2, 7[A]), Chestnut describes

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that an outside caller places a call to the called party office extension (normally-

called location dialing code) and that the called party office extension can be the

default telephone number. EX1005, 4:48-5:2, 5:29-30. For the reasons and known

benefits articulated above (supra Ground 2, 1[P.1]), implementing Chestnut’s

suggestion into Adams’ system would have predictably resulted in the office

extension (normally-called location dialing code) being the subscriber phone

associated with the subscriber’s account. EX1003, ¶162.

                          Element 9[B]

      As previously discussed Ground 1, claim 6, 9[B]), Adams’ SCP processes

telephone calls in a PSTN. EX1004, 9:37-42. The SCP has a database (index) of

call forwarding service data corresponding to a telephone number of the

subscriber. EX1004, 9:37-42. The SCP processes incoming calls to the

subscriber’s telephone number in accordance with call forwarding service data.

EX1004, 6:44-49. In response to an incoming telephone call, the SCP compares

the called party’s telephone number to a list of subscribers in the database, and

based on the information for the subscriber in the database (index), determines the

forwarding instructions including whether the Flexible Call Forwarding is on or off

and the forward-to telephone number. EX1004, 20:1-21:56; EX1003, ¶163.

      As previously discussed (supra Ground 2, 1[B.2]), Chestnut describes that a

telephone call is received and the identity of the called party is determined by


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looking up the dialed extension in an index stored in a computer memory.

EX1005, 6:13-24; EX1003, ¶164. The current called party network logon device is

determined by comparing the identity of the called party with a list (index) of

persons currently logged onto the computer network. Id. The telephone number

associated with the current called party network logon device is determined by

comparing the identity of the logon device with a list (index) of telephone numbers

indexed by logon device stored in a memory. EX1005, 6:34-39. The telephone

number to which incoming calls should be forwarded is selected based upon a

record (index) stored in a memory which associates a forwarding telephone

number, such as the number for called party home phone, with a network logon

device, such as called party home workstation. EX1005, 4:64-5:2.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), implementing Chestnut’s suggestion into Adams’ system would have

predictably resulted in the databases at the SMS and SCP including an index

storing an office extension (calling indicia) with an identity of the party, a list

(index) including the identity of the party associated with the identity of the current

network logon device (values representative of selection), and a list (index)

including identities of logon devices indexed with a list of telephone numbers (also

values representative of selection) to control call forwarding based on the computer

terminal used to log on to the company’s LAN, as suggested by Chestnut.


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EX1005, 2:25-30, 4:58-5:2, 6:13-24, 6:33-38; EX1003, ¶165. The SCP would

select the telephone number to which incoming calls to the subscriber’s business

telephone number should be forwarded based on the index, which associates a

forwarding telephone number, such as the number for subscriber’s home phone,

with a network logon device, such as the subscriber’s home workstation. Id.;

EX1004, 6:44-47, 9:37-42, 20:1-21:56.

                          Claim 10

       As previously discussed (supra Ground 1, 1[B.1]-1[B.2], claim 10), Adams

describes that the SMS (including a detector and an indexer) stores updated call

forwarding service data. EX1004, 7:65-66, 15:62-64; EX1003, ¶166. When a

subscriber interacts with the web page to add call forwarding information, the SMS

receives the call forwarding information, stores it, and also sends that data to the

SCP (also including a detector and indexer). EX1004, 18:1-9. The data stored at

the SMS is therefore duplicated by the data stored at the SCP (indexer embodied

thereat). Id.

                          Claim 11

       Chestnut describes a Local Area Network (LAN). EX1005, 2:1-5, FIG. 1.

Chestnut explains that the LAN “is fast becoming the technology backbone of

today's offices.” EX1005, 1:32-37, 1:54-57. Chestnut describes “a

telecommunications management system which closely integrates a company’s

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LAN with its telephone network.” EX1005, 2:1-31. The evidence here shows that

a POSITA would have understood that, based on Chestnut’s disclosure, a LAN can

be a private network portion of a packet data network. EX1003, ¶167.

      For the reasons and known benefits articulated above (supra Ground 2,

1[P.1]), a POSITA would have recognized the predictable benefits of applying

Chestnut’s suggestion to Adams’ system to integrate a company’s LAN with the

telephone network and to control call forwarding based on the computer terminal

used to log on to the company’s LAN. EX1005, 2:25-30; EX1003, ¶168. As

depicted below, the evidence here demonstrates that the predictable application of

Chestnut’s suggestion to Adams’ system would have beneficially produced a

system where the web server (including a detector) is embodied at a company’s

LAN, and the SCP, SMS, and web server are implemented to additionally provide

the functionalities of Chestnut’s telecommute server:




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                                             Office Workstation at First Location




                                                               Web Server
                                                               embodied at a
                                                               corporate LAN




     Telephonic Network


                                                           Packet Data Network
                                                           Home Workstation
                                                           at Second Location




                                              Forward-to
                                                Phone


EX1003, ¶168 (annotating EX1004, FIG. 1 and citing to EX1005, 4:48-5:2, 6:13-

24, 6:33-38).

                          Claim 12

      As previously discussed (supra Ground 1, claim 12), Adams’ data network

includes a Web client 30, a Web server 54 and a service management system

(SMS) 48, connectable through the Internet 44 (public network portion), as shown

in FIG. 1:



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                                                          Data Network including SMS
                                                          (Detector) and Web Server
                                                          (Detector)




EX1004, FIG. 1 (annotated), 13:41-56, 22:28-38; EX1003, ¶169.

      As depicted below, the evidence here demonstrates that the predictable

application of Chestnut’s suggestion to Adams’ system would have beneficially

produced a system where the web server is embodied at a company’s LAN, and

connectable to the SMS (which includes a detector) through the Internet (public

network portion):




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                                              Office Workstation at First Location
                              Detector embodied
                              at the Internet




                                                                  Web Server
                                                                  embodied at a
                                                                  corporate LAN




     Telephonic Network




                                                               Home Workstation
                                                               at Second Location




                                                  Forward-to
                                                    Phone


EX1003, ¶170 (annotating EX1004, FIG. 1 and citing to EX1004, 13:41-56, 22:28-

38; EX1005, 4:48-5:2, 6:13-24, 6:33-38).

                          Claim 13

                          Element 13[P.1]

      To the extent the preamble is treated as a limitation, the Adams-Chestnut

combination provides this element of the preamble as detailed above. Supra,

Ground 2, 1[P.1]; EX1003, ¶171.


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                           Element 13[P.2]

        To the extent the preamble is treated as a limitation, the Adams-Chestnut

combination provides this element of the preamble as detailed above. Supra,

Ground 2, 1[P.2]; EX1003, 172.

                           Element 13[A]

        The Adams-Chestnut combination provides the claimed detecting step as

detailed above. Supra, Ground 2, 1[A.1]-1[A.2]; EX1003, ¶173.

                           Element 13[B]

        The Adams-Chestnut combination provides the claimed forming step as

detailed above. Supra, Ground 2, 1[B.1]-1[B.2]; EX1003, ¶174.

                           Element 13[C]

        The Adams-Chestnut combination provides the claimed accessing step as

detailed above. Supra, Ground 1, claim 6; Ground 2, 1[B.2], claim 6; EX1003,

¶175.

                           Element 13[D]

        The Adams-Chestnut combination provides the claimed using step as

detailed above. Supra, Ground 1, 13[D]; Ground 2, 1[B.2]; EX1003, ¶176.




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                        Claim 14

                        Element 14[A]

      The Adams-Chestnut combination provides this element of claim 14 as

detailed above. Supra, Ground 2, 1[P.1], 2[A]; EX1003, ¶177.

                        Element 14[B]

      The Adams-Chestnut combination provides this additional element of claim

14 as detailed above. Supra, Ground 2, 1[A.1]-1[A.2], 2[B]; EX1003, ¶178.

                        Claim 15

      The Adams-Chestnut combination provides claim 15 as detailed above.

Supra, Ground 1, 1[A.2], claims 3-4; Ground 2, 1[A.2], claims 3-4; EX1003, ¶179.

                        Claim 16

                        Element 16[A]

      The Adams-Chestnut combination provides this element of claim 16 as

detailed above. Supra, Ground 2, 7[A]; EX1003, ¶180.

                        Element 16[B]

      The Adams-Chestnut combination provides this element of claim 16 as

detailed above. Supra, Ground 2, 7[B]; EX1003, ¶181.




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                          Claim 17

        The Adams-Chestnut combination provides claim 17 through Adams’

disclosure as detailed above. Supra, Ground 1, claim 6; Ground 2, 1[B.2], claim 6;

EX1003, ¶182.

                          Claim 18

        The Adams-Chestnut combination provides claim 18 as detailed above.

Supra, Ground 2, 7[B], claim 8; EX1003, ¶183.

                          Claim 19

                          Element 19[A]

        The Adams-Chestnut combination provides this element of claim 19 as

detailed above. Supra, Ground 1, 1[P.1], 5[A], Ground 2, 1[P.1], 5[A]; EX1003,

¶184.

                          Element 19[B]

        The Adams-Chestnut combination provides this additional element of claim

19 as detailed above. Supra, Ground 1, 5[B]; Ground 2, 5[B]; EX1003, ¶185.

                          Claim 20

        The Adams-Chestnut combination provides claim 20 through Adams

disclosure as detailed above. Supra, Ground 1, 1[B.1]-1[B.2], claims 6, 10;

EX1003, ¶186.



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             INSTITUTION SHOULD NOT BE DISCRETIONARILY
             DENIED

      In Apple Inc. v. Fintiv, Inc., the Board enumerated six factors that provide a

“holistic view” as to “whether efficiency, fairness, and the merits support the

exercise of authority to deny institution in view of an earlier trial date in [a]

parallel proceeding.” IPR2020-00019, Paper 11 at 2-3 (PTAB “precedential” Mar.

20, 2020) (“Fintiv I”). Guided by precedent, Huawei took affirmative steps to

promote the Board’s efficiency and fairness goals. Huawei initiated this

proceeding with exceptional diligence, filed a single petition narrowly focused on

specific claims within a mere 9 weeks of learning of WSOU’s asserted claims, and

provided a stipulation akin to Sand Revolution to eliminate overlapping prior art

grounds between the instituted IPR proceeding and the Related Litigation.

EX1002, XX. These facts, paired with the strong merits of Grounds 1–2, provide

compelling reasons to institute. Sand Revolution II, LLC v. Continental Intermodal

Group, IPR2019-01393, Paper 24, 12 (PTAB “Informative” June 16, 2020).

      Relevant Facts—Between September 29, 2020 and October 2, 2020,

WSOU filed six separate infringement actions against Huawei involving six

unrelated patents asserted against several unrelated products. See EX1100. These

six lawsuits are concurrently pending in the Western District of Texas (“the

Court”) before the Honorable Judge Alan D. Albright. Id. The action involving



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the ’658 patent was assigned Case No. 6:20-cv-00892 (“the Related Litigation”).

The remaining lawsuits are identified by different cases numbers and are not

formally consolidated. The district court’s scheduling order indicates that they will

be consolidated into two or more groups—with a trial for the “first of the

consolidated cases” starting on September 26, 2022 and a subsequent trial(s) for

the “remaining consolidated cases” on a later (unknown) date. EX1101, 5.

      WSOU served its preliminary infringement contentions on February 5, 2021,

but oddly characterized the contentions as “confidential” and did not authorize

Huawei’s in-house counsel to view the charts of the preliminary infringement

contentions until February 24, 2021. See EX1101, 1. As such, this Petition was

filed just nine weeks after initially learning of the asserted claims and about six

weeks after actually viewing the infringement charts. This Petition was served on

Patent Owner even before Huawei’s preliminary invalidity contentions, which are

not due until April 12, 2021 (extended from April 7 upon agreement from the

parties). Id.

      The Court set a Markman hearing for August 12, 2021, and the parties are

scheduled to exchange terms for construction on April 16, 2021. See EX1101, 2-3.

Per the Court’s default order, fact discovery will formally open on August 16,

2021, two business days after the Markman hearing. See EX1101, 3. In other

words, little discovery—and certainly no meaningful expert discovery regarding


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invalidity of the ’658 patent—will be completed at the time of the Board’s

institution decision here.

      For purposes of planning earlier dates throughout discovery, etc., the Court

set two placeholder trial dates—a first trial starting on September 26, 2022 for an

unknown “first” subset of the six asserted patents and a subsequent trial for the

“remaining consolidated cases” starting on a date that “will be determined.”

EX1101, 5. In other words, a jury trial is scheduled for September 26, 2022, but

neither the Court nor any party knows which subset of the six asserted patents will

be in “the first of the consolidated cases” for the trial on that date. Id. More

specifically to the ’658 patent at issue here, no party knows whether the ’658

patent will be part of “the first of the consolidated cases” for trial starting on

September 26, 2022 or part of the “remaining consolidated cases” starting on a

later (unknown) date. Id. Any allegation to the contrary is pure speculation.

      Factor 1 (Stay)—No party in the Related Litigation has request a stay at this

time. Huawei currently plans to seek a motion to stay after the Board’s decision to

institute IPR here because, in Judge Albright’s court, a motion filed earlier would

be premature. Again, the facts at play here are unique. There are six distinct

lawsuits (asserting six unrelated patents) all unrealistically scheduled for trial on

the same date. In such unique circumstances, it is unclear how Judge Albright

would rule on a motion to stay for the particular lawsuit involving the ’658 patent,


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especially after IPR is instituted against the ’658 patent months before the due date

for Patent Owner to amend its complaint (December 2021) and long before expert

reports/discovery (March 2022). This cloud of uncertainty means Factor 1 is

neutral.

      Factor 2 (Trial Date)—While the Court set September 26, 2022 as a

placeholder trial date for an unknown “first” subset of the six asserted patents and

a later (unknown) trial for the “remaining consolidated cases,” it is far from certain

whether the ’658 patent will be part of the “first” trial or the later second trial.

EX1105, 5. The only certainty at this time is that several of the six patents will not

be part of the September 26, 2022 trial because they will be grouped into the

“remaining consolidated cases.” Id. Presently, there is no hint as to how the

scheduling shuffle will play out, and it would be erroneous for any party to

speculate that the ’658 patent will necessarily be excluded from the “remaining

consolidated cases.” Id.

      The Fintiv panel noted that the Board “generally take[s] courts’ trial

schedules at face value absent some strong evidence to the contrary.” Apple Inc. v.

Fintiv, Inc., IPR2020-00019, Paper 15, 13 (PTAB, “informative,” May 13, 2020)

(“Fintiv II”). For the reasons detailed above, such “strong evidence” exists on this

record. Due to WSOU’s litigation tactics, neither the Court nor any party knows

which one of the six asserted patents will be the subject of the trial starting on


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September 26, 2022. There is, in effect, no certain date for a jury trial that

specifically addresses the ’658 patent.

      The “informative” guidance in Sand Revolution aligns with the facts of this

case. Sand Revolution, IPR2019-01393, Paper 24 at 8-10. Even if Patent Owner

(improperly) speculates the district court will necessarily insert the ’658 patent into

the “first” subset for a jury trial on September 26, 2022, the narrow gap in time

between the jury’s final verdict (end of September 2022 or later) and the Board’s

projected Final Written Decision (October 2022) is less than one month. The panel

in Sand Revolution, also facing meaningful questions of uncertainty about the trial

date, weighed Factor 2 “marginally” against denial with a three-month time gap.

Id. The Sand Revolution guidance demonstrates the proper result when the district

court’s “evolving schedule” makes it “unclear” when the trial would be held. Id.

A similar lack of clarity exists in this case but for a slightly different reason—there

is significant uncertainty as to whether the ’658 patent will be in the “first” subset

for trial on September 26, 2022 or in the second subset of the “remaining

consolidated cases” for trial at a later unknown date. EX1101, 5.

      Similarly, the Board’s analysis in Google LLC, et al. v. Parus Holdings, Inc.

is compelling. See IPR2020-00846, Paper 9, 12-14 (PTAB Oct. 21, 2020). There,

the district court reserved a broad range of “predicted” trial dates but declined to

specify further. Id. (noting a trial date range of July 12-30, 2021, and further


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noting the court’s statement that it was “not going to pick a date right now”). With

“only three months” between the range of trial dates and a final written decision,

the Board deemed Factor 2 “neutral” based on “substantial uncertainty in the Texas

court’s ‘Predicted Jury Selection/Trial’ date.” Id.

      The less-than-a-month time gap presently at issue is narrower than Sand

Revolution and the trial date uncertainty is comparable to Google v. Parus. The

well-reasoned analysis in Sand Revolution weighed Factor 2 against discretionary

denial. A similar outcome is appropriate here.

      Factor 3 (Investment)—The Related Litigation is currently in its infancy.

Huawei has yet to serve its preliminary invalidity contentions, and the parties have

yet to exchange proposed terms for construction. Huawei acted promptly in

response to WSOU’s identification of asserted claims in preliminary infringement

contentions, filing this Petition only nine weeks after initially learning of the

asserted claims and about six weeks after Huawei’s in-house counsel was finally

authorized to view the charts of the preliminary infringement contentions. See

EX1101, 1.

      At the projected date of institution (October 2021), the fact discovery period

will have five more months of duration before the close of fact discovery (March

24, 2022), and expert reports/discovery will not even start until later (closing in

May 19, 2022). EX1101, 4. Beyond a Markman order, which is not dispositive


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here and is unrelated to the invalidity issues based upon the prior art publications

cited in this Petition, the Court will have not issued any substantive orders relevant

to invalidity based on prior art publications.

      The facts here compare favorably to Fintiv. In that case, also co-pending

with litigation at the Western District of Texas, the petitioner filed five months

after receiving preliminary infringement contentions, but the petition here was filed

within nine weeks of receiving the asserted claim numbers (and just six weeks after

Patent Owner authorized Huawei’s in-house counsel to view the claim charts). See

Fintiv II at 9. There, “[a]t the time of filing the Petition, the parties were in the

midst of preparations for the Markman hearing,” while here, the parties have not

even exchanged terms. Id.

      The “informative” guidance in Sand Revolution is telling here too. By the

time of institution in this proceeding, the Related Litigation will be at a similar

posture where “aside from the district court’s Markman Order, much of the district

court’s investment relates to ancillary matters untethered to the validity issue

itself.” Sand Revolution, IPR2019-01393, Paper 24, 10-11. The parallels are also

notable because:

      [M]uch work remains in the district court case as it relates to invalidity:
      fact discovery is still ongoing, expert reports are not yet due, and
      substantive motion practice is yet to come.



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Id. at 11 (internal citation omitted); see also Fintiv I at 10 (“If, at the time of the

institution decision, the district court has not issued orders related to the patent at

issue in the petition, this fact weighs against exercising discretion to deny

institution”).

       In fact, the circumstances under Factor 3 here are similar to Sotera. See

Sotera Wireless, Inc. v. Masimo Corporation, IPR2020-01019, Paper 12, 16-17

(PTAB Precedential Dec. 1, 2020) (“much other work remains in the parallel

proceeding as it relates to invalidity” and the “explanation for timing of the

Petition is reasonable, … particular in view of the large number of patents and

claims”). In this case too, Factor 3 “weighs in favor of not exercising discretion to

deny” as a result of “the relatively limited investment in the parallel proceeding to

date” and “the fact that the timing of the Petitioner was reasonable.” Id. at 17.

       Factor 4 (Overlap)—As an initial matter, no party currently knows whether

the ’658 patent will be part of the “remaining consolidated cases” for second trial

starting on a later (unknown) date after the Board’s final written decision here.

EX1101, 5; supra, Analysis of Factors 1-2. In such circumstances, there would be

absolutely no overlap between invalidity grounds addressed in the Board’s final

written decision and in the later jury trial because §315(e)(2) necessarily forbids it.

Given the undefined nature of which one of the jury trials will actually include the

’658 patent, these questions related to “overlap” in Factor 4 are, at best,


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speculative.

       Moreover, even if Patent Owner indulges in speculation to assume that the

’658 patent will necessarily be part of the “first” subset of cases for trial on

September 26, 2022 rather than in the later subset, Huawei’s stipulation here

“mitigates” concerns related to overlapping prior art grounds. Sand Revolution,

IPR2019-01393, Paper 24, 11-12; see EX1102, XX (not pursue “the same prior art

grounds”). According to this informative guidance, Factor 4 weighs at least

“marginally in favor not exercising discretion to deny IPR.” Sand Revolution,

IPR2019-01393, Paper 24, 12.

       Factor 5 (Parties)—Because the parties here and at the District Court are

the same, Factor 5 favors denial if trial precedes the Board’s Final Written

Decision and favors institution if the opposite is true (due to the 35 U.S.C.

315(e)(2) estoppel provision). Google, IPR2020-00846, Paper 9, 20-21 (“[W]e

decline to speculate as to whether we are likely to address the challenged patent

before the Texas court. Thus, [Factor 5] is neutral.”). Neither circumstance can be

confirmed in this case without improper speculation because the actual date of a

jury trial involving the ’658 patent is uncertain. EX1101, 5 (a later unknown trial

for “the remaining consolidated cases”). Under these unique circumstances, Factor

5 is neutral.

       Factor 6 (Merits and Other Circumstances)—The merits of this Petition


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are particularly strong. Section VII above presents two prior art grounds (Grounds

1-2) against the ’658 patent’s claims. As discussed, the prior art and arguments at

issue here are materially different from those considered by the Examiner during

prosecution. The strength of the merits alone is enough to outweigh any

inefficiencies born of parallel litigation. See Fintiv, 15.

      And there are additional circumstances that also favor institution, such as the

effect on “the economy [and] the integrity of the patent system.” Consolidated

Trial Practice Guide (“CTPG”), 56 (quoting 35 U.S.C. § 316(b)). Relevant to the

former, WSOU, an entity specializing in patent licensing and negotiation, is

asserting the ’658 patent’s overbroad claims against Huawei’s communication

diversion service. See EX1009. Fully vetting an eighteen-year-old patent (filed

2003) only now asserted against Huawei’s product would be beneficial to the

economy.

      The integrity of the patent system equally weighs in favor of institution. The

analysis in Section VII of this Petition shows that the ’658 patent’s Challenged

Claims are too broad, and the dubious prosecution record does not adequately

explain why the Examiner issued a Notice of Allowance in the first place (see

supra Section IV.B). AIA trials were intended to “improve patent quality and limit

unnecessary and counterproductive litigation costs.” CTPG, 56 (quoting H.R. Rep.

No. 112-98, pt. 1, at 40 (2011)). This case provides an opportunity to fulfill those


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objectives.

      For all these reasons, Factor 6 and the Fintiv Factors as a whole strongly

favor institution. Finally, Petitioner notes the ongoing legal challenge to

discretionary denials of IPR based on the Fintiv and NHK precedential decisions

(e.g., Apple Inc. et al. v. Iancu, No. 5:20-cv-06128 (N.D. Cal.)), and reserves the

opportunity to address the result of that case and any impact in this proceeding.

              CONCLUSION

      Petitioner requests IPR of the Challenged Claims pursuant to Grounds 1-2.


                                       Respectfully submitted,



Dated: April 6, 2021                   /Kim H. Leung/
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                  CERTIFICATION UNDER 37 CFR § 42.24

      Under the provisions of 37 CFR § 42.24(d), the undersigned hereby certifies

that the word count for the foregoing Petition for Inter Partes Review totals 13,718

words, which is less than the 14,000 allowed under 37 CFR § 42.24.



                                      Respectfully submitted,



Dated: April 6, 2021                  /Kim H. Leung/
                                      Michael T. Hawkins, Reg. No. 57,867
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                          CERTIFICATE OF SERVICE

      Pursuant to 37 CFR §§ 42.6(e)(4)(i) et seq. and 42.105(b), the undersigned

certifies that on April 6, 2021, a complete and entire copy of this Petition for Inter

Partes Review and all supporting exhibits were provided via Federal Express, to

the Patent Owner by serving the correspondence address of record as follows:



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